         Case 3:17-mc-00348-JCC           Document 7        Filed 11/10/17   Page 1 of 9




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                           IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

 UNITED STATES OF AMERICA,                            Case No. 3:17-mc-00348-JCC
         Plaintiff,
                                                      RESPONSE TO THE COURT’S ORDER
 v.                                                   TO SHOW CAUSE [DOC. 6],
 AMMON BUNDY, et al,                                  PROVISIONAL RESPONSE TO THE
                                                      COURT’S ORDER TO SHOW CAUSE
         Defendants.                                  [DOC. 2069] AND MOTION FOR FINAL
                                                      ADDITIONAL ENLARGEMENT OF TIME
                                                      Judge John C. Coughenour

       On November 3, 2017, the Court issued a sua sponte order to show cause based upon my

failure to respond to Doc. 2069, and specifically why my failure should not be treated as an

admission that the relief outlined in that order should be granted and that the January 8, 2017

evidentiary hearing is no longer necessary. The November 3 order gave me until today,

November 10, 2017 to file my response. This filing is timely.

       In the response, I have included 1) a direct answer for my failure to file in response to

Doc. 2069, 2) a provisional response to Doc. 2069, and 3) a motion for one final enlargement of

time to file a finalized, rather than provisional, response to Doc. 2069.

                      I.    DIRECT ANSWER IN RESPONSE TO DOC. 6


       In early August 2017, I filed for and was granted an extension of time to respond to Doc.

2069, on the primary basis of needed more time to obtain transcripts necessary to investigate,

research and compose my response. See 3:16-cr-00051, Doc. 2192 (August 8, 2017). As I

worked on making my response, I was in repeat communication with opposing counsel as I

                                                  1
         Case 3:17-mc-00348-JCC           Document 7      Filed 11/10/17     Page 2 of 9




realized more time was necessary, and on October 31, 2017 I requested and obtained leave of the

Court to file my response by that day, October 31, 2017. That date is significant because

opposing counsel and I had reached an agreement for the extension of time up to that date and I

had agreed to file and request a formal extension from the Court. In that motion (Doc. 4) (which

I incorporate fully here as additional support for this response and the motion below),

subsequently granted on the same day (Doc. 5), I rather thoroughly outlined the basis for the

delay, the needed extra-time and provided an explanation and detail of work done to-date,

including more than 100 hours of work, reviewing more than 500 pages of transcripts, and

having to respond to an unexplained laundry list of dozens of record citations in the original

OTSC that has literally become an overwhelming task in terms of time and effort. As of October

31, 2017, I was still not finished, and though I reasonable thought at the time I was very close to

being finished, I made mistake in my motion in asking only for an extension of time through the

date of that filing. I was attempting to be conservative and circumspect in my request, but

candidly, I simply should have asked for more time and mistakenly did not. I apologize to the

Court and opposing counsel for the subsequent delay of 10 days. If there were the only factors, I

would have been in contact with the Court and with opposing counsel prior to now – but these

were not the only factors contributing to this extra 10-day delay.

       On October 31, 2017, not only was I diligently working on my response to the original

OTSC (Doc. 2069), but late that day I learned that the United States had decided to re-try my

client in, United States of America v. Claud R. Koerber, Case No. 2:17-cr-17 (District of Utah).

This is a case that I have been defending intensively since back in 2009. It has included four

different indictments, multiple appeals, a remand, a full criminal trial lasting eight weeks from

August 2017 through October 2017, and recently included a hung jury and mistrial. I previously



                                                 2
         Case 3:17-mc-00348-JCC           Document 7       Filed 11/10/17     Page 3 of 9




mentioned this case in my last motion (Doc. 4) because in late August (after my initial request

for extra time) I was required due to professional conviction and ethical demands, to represent

Mr. Koerber at his trial from August through October, though I had not been on the case since

the most recent indictment in January 2017, was not ready for trial, and the district court had

failed to grant a continuance – all pro bono. As I’ve previously described this case is significant,

complex, intensive as far as time commitment, and my involvement in that trial under the

circumstances caused tremendous interference with my ability to work on the filing here in

response to Doc. 2069. There was also a cascading effect of my involvement in that case, on my

small practice, which caused me to delay and postpone work on other client matters – and this

response. Nevertheless, as soon as I was done with that case, I redoubled my efforts here on this

project, but on October 31, 2017 not only did we learn that the government intended to re-try Mr.

Koerber in this eight year old case, but soon thereafter the assigned judge recused. The news of

the coming re-trial required a tremendous amount of immediate attention, identifying urgent

issues related to records, witnesses, anticipated filings, communication with the client,

coordination with prior experts, etc. In addition, the recusal of Judge Robert Shelby – not fully

explained – also included the same judge’s recusal in two other significant and complex cases of

mine: Garth O. Green Enterprises, Inc., et al., v. Randall Harward, et al, 2:15-cv-556 (District

of Utah); and Islet Holdings et al v. Islet Sciences et al, 2:12-cv-799 (District of Utah). This new

development, caused a chain reaction of unexpected legal consequences, right at the same time

my response in this matter was due – and it has been overwhelming. To help this Court

understand, in the USA v. Koerber case (which is related to one of the OTSC issues here), the

Magistrate Judge appears to have relied upon the OTSC here and the allegations therein, when he

deprived me of CJA approval, denied my ability to work with co-counsel on the case, and made



                                                 3
         Case 3:17-mc-00348-JCC            Document 7        Filed 11/10/17      Page 4 of 9




other decisions increasing the burden of USA v. Koerber on my time and mental ability, in terms

of how much of each a response like this obviously requires. Further, the unexpected recusal of

Judge Shelby from USA v. Koerber and the other two cases named above – immediately created

ethical responsibilities on my part, regarding prioritizing my client’s needs, including one urgent

and extensive filing immediately required in Green Enterprises, Inc., v. Harward. Finally, at the

same time, a four-day evidentiary hearing in State of Utah Attorney General v. Jason Hawkins,

XX-XXXXXXX (3rd District Court – Salt Lake District, State of Utah) had run over from October 24

to October 31, 2017. The case involves allegations of a complex communications fraud scheme

and pattern of unlawful conduct involving a real estate brokerage’s efforts to close residential

short sale transactions.

        The unexpected and urgent nature of all three of these matters, was not something I

anticipated in early August when I asked for the original extension then, nor could I have

anticipated the exceptionally overwhelming circumstances from October 31, 2017, through to

now. Nevertheless, I have continued to work on completing my response to the original OTSC

in this matter, with every moment I could find, prioritizing this project above all other non-

emergency demands on my time and efforts. All this being said, the Response is still not

finished. I am attaching it to this filing as a “provisional” filing, so that the court can see that I

have diligently been working, on this extensive answer. Frankly, it would only take a few hours

to draft the OTSC as it exists, and that was likely following only a few hours quickly creating the

laundry list, undescribed and unexplained citations in the OTSC. On the other hand, I am now at

least 150 hours into the Response, with fully explained legal objections to the form and merit of

the OTSC and related due process implications, as well as a thorough, citation by citation

response to each possible allegation. As the Court can see by looking at the provisional filing, I



                                                   4
         Case 3:17-mc-00348-JCC           Document 7       Filed 11/10/17      Page 5 of 9




am taking this matter very seriously, I disagree with the allegations based upon the thorough and

exhaustive citation I’ve made to the transcripts I have available, and even leaving aside all the

legal deficiencies of the OTSC, I have a meritorious and thorough response to each issue raised.

Unfortunately, the way this issue has been crafted, I am forced to cover the provided citations as

one looking for the proverbial needle in a haystack lest I miss one citation, or overlook one

possible allegation (since none are described or explained specifically in the OTSC), my

professional reputation and ability could suffer greatly. In sum, I have endeavored diligently to

present the response ordered, I have a meritorious response to each allegation, my shortcomings

on meeting the time deadline have not been for lack of diligence, instead I have simply made the

mistake of underestimating how long it would take to finish the response, and have previously

requested too little time to finish. Finally, as a legal matter, the 10 days past the approved

deadline is significant and I have attempted to provide a full explanation of what is required to

meet the excusable neglect standard in Rule 6. However, more than Rule 6 is at issue, and

granting the relief requested in the original OTSC, based essentially on a “default” for a 10 day

overrun, would contravene the other more fundamental issues of fairness and propriety at issue

here. While I do not dispute that this Court generally has authority to issue sanctions and ensure

compliance and adherence to its rules and standards, see, e.g., Ex parte Burr, 22 U.S. (9 Wheat.)

529 (1824), any consideration of disbarment or revocation of the ability to appear before the

court is among the highest possible sanctions, and is governed by exceptionally high standards,

including the establishment of both “factual and legal prerequisites” before any such exercise of

this power is legitimate. Zambrano v. City of Tustin, 885 F.2d 1473, 1478 (9th Cir. 1989); In re

L.A. Cnty. Pioneer Soc'y, 217 F.2d 190, 193–94 (9th Cir. 1954) (collecting cases). The first

consideration in determining whether to impose the sanctions contemplated by the OSC is my



                                                  5
         Case 3:17-mc-00348-JCC           Document 7       Filed 11/10/17     Page 6 of 9




due process rights to fair and adequate notice – and my corresponding right to be heard after

being afforded that notice. Cole v. U.S. Dist. Court, 366 F.3d 813, 821 (9th Cir. 2004)

(“[R]evocation of pro hac vice status is a form of sanction that cannot be imposed without notice

and an opportunity to be heard.”). The second consideration derives from both the Sixth

Amendment and Fifth Amendment due process rights of my client, a criminal defendant.1 See

United States v. Dinitz, 538 F.2d 1214, 1219 (5th Cir. 1976) (“In this connection, of course, the

Sixth Amendment is indisputably relevant, for it helps define the limits of judicial discretion.”);

Collins, 920 F.2d at 627 (10th Cir. 1990) (noting that in a criminal case, considerations of

attorney sanctions must balance the “social need for ethical practice” of law, and before

imposing disbarment or disqualification, an express finding that this need, under the

circumstances then present, “outweighs the party's right to counsel of his choice”). The OTSC at

issue here is the basis not only for my required Response, but it insufficient form – both legally

and factually – is the primary cause of the broad, expansive, and extensive effort it is taking to

provide a full response. For this reason, due process interests and the legal standards referenced

above, should take priority, and given the relative insignificant of the 10-day overrun, under the

circumstances described above, there is not cause to enter judgement on timeliness grounds.

       For all the above specified reasons, and those I have incorporated, my admission pro hac

vice should not be revoked, and my ability to practice law in Oregon should not be barred, for the

10-day delay of my filing past the approved deadline, nor for the false allegations in the original

OTSC. Recognizing that the Court has already ruled I will not be granted extensions of time for



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  “The damage in this case includes the petitioners' loss of a lead counsel... And if [the
attorney’s] knowledge could be gained by another counsel, another attorney still may not gain
the same quality of attorney-client relationship and rapport …Once a new attorney is brought in,
the effect of the order is irreversible.”). Cole, 366 F.3d at 813.


                                                 6
         Case 3:17-mc-00348-JCC           Document 7      Filed 11/10/17      Page 7 of 9




my future Reply brief, and looking at the schedule as it is currently set, even with the 10-day

delay from October 31 to today, there is still several weeks between the final filings here, and the

hearing scheduled – and therefore there is no appreciable prejudice to either party, nor does there

appear to by any significant burden on the scheduled proceeding. Therefore, the current hearing

should remain, on schedule.

                    II.     My Provisional Response to the Original OTSC


       I have included with this filing, a provisional version of my Response to the original

OTSC (Doc. 2069). Below I am requesting that I have through this weekend, as one final

extension of time, to complete the filing and bring it into a more complete, finished and

professional form. However, should the Court deny that motion, I have included the provisional

response here, so that should the Court deny my motion below, it would simply accept my

provisional response as my Response to Doc. 2069 instead. The provisional response included

with this filing is sufficiently complete to address the merits of each basis upon which the Court

could inquire or rule on the OTSC, and it sufficiently raises the legal objections I am making.

Nevertheless, it is not as thorough as I would like, it needs additional proof-reading and

improved citations for ease of reference by the Court and the government, and there are

additional arguments and explanations that I would like to provide.

                III.      MOTION FOR FINAL EXTENTION TO RESPOND


        In United States v. Talao, 222 F.3d 1133, 1138 (9th Cir. 2000), the Ninth Circuit pointed

out that even a judicial reprimand is “likely to stigmatize [an attorney] among her colleagues and

potentially could have a serious detrimental effect on her career,” including putting her license at

issue. In Precision Specialty Metals, Inc. v. United States, the court explained why: “[a] lawyer's

reputation is one of his most important professional assets” and “a reprimand may have a more

                                                 7
         Case 3:17-mc-00348-JCC            Document 7       Filed 11/10/17     Page 8 of 9




serious adverse impact upon a lawyer than the imposition of a monetary sanction.” 315 F.3d

1346, 1353 (Fed. Cir. 2003); see also Williams v. United States (In re Williams), 156 F.3d 86, 90

(1st Cir. 1998) (stating that “a lawyer's professional reputation is his stock in trade, and

blemishes may prove harmful in a myriad of ways”); Walker v. City of Mesquite, 129 F.3d 831,

832 (5th Cir. 1997) (“professional reputation is a lawyer's most important and valuable asset”).

       This is why other courts have recognized that an attorney must be given the meaningful

opportunity to respond before his or her pro hac vice status can be revoked. Cole v. U.S. Dist.

Court For Dist. of Idaho, 366 F.3d 813, 821–22 (9th Cir. 2004); Kirkland v. Nat'l Mortg.

Network, Inc., 884 F.2d 1367, 1372 (11th Cir. 1989) (vacating order revoking pro hac vice where

attorney was not given meaningful opportunity to respond); Johnson v. Trueblood, 629 F.2d 302,

304 (3d Cir. 1980); see also United States v. Collins, 920 F.2d 619, 626 (10th Cir.1990)

(“Attorneys admitted pro hac vice are held to the same professional responsibilities and ethical

standards as regular counsel. Once admitted, pro hac vice counsel cannot be disqualified under

standards and procedures any different or more stringent than those imposed upon regular

members of the district court bar.”); United States v. Ries, 100 F.3d 1469, 1471 (9th Cir. 1996)

(“Pro hac vice counsel … cannot be disqualified under standards and procedures any ... more

stringent than those imposed upon [members of the local bar].’”) (citation omitted).

Accordingly, while I recognize that I am 10 days past the last approved deadline, I request that

the Court provide me the remainder of this weekend, until midnight November 12, 2017, to

finish amending, revising, and completing the provisional response I’ve included herewith. This

is consistent with providing me with a full and fair opportunity to be heard, under the

circumstances of this matter, and in context of the issues I’ve confronted. The extra few days will

not cause prejudice to the government or the Court’s schedule, and will result in a more



                                                  8
         Case 3:17-mc-00348-JCC          Document 7      Filed 11/10/17     Page 9 of 9




complete, clear and helpful form of the Response, and is allowable to enable a more thorough

answer to the false allegations in the OTSC. See e.g. Pioneer Inv. Servs. Co. v. Brunswick

Assocs. Ltd. P'ship, 507 U.S. 380, 395 (1993) (“[W]e conclude that the determination [of

excusing a late filing deadline based upon neglect] is at bottom an equitable one, taking account

of all relevant circumstances surrounding the party's omission.”)

       DATED: November 10, 2017

                                             /s/ Marcus R. Mumford
                                             Marcus R. Mumford




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